Case 2:17-cr-00021-D-BR       Document 137       Filed 10/03/18      Page 1 of 11    PageID 397



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

  UNITED STATES OF AMERICA,                      §
                                                 §
                       Plaintiff,                §
                                                 §
  VS.                                            § Criminal No. 2:17-CR-021-D
                                                 §
  FELIX ESTRADA (4),                             §
                                                 §
                       Defendant.                §

                                    MEMORANDUM OPINION
                                        AND ORDER

         In this memorandum opinion and order, the court addresses four motions for discovery

  filed by defendant Felix Estrada (“Estrada”).1 Estrada is charged in count one of a two-count

  indictment with the offense of conspiracy to distribute and possess with intent to distribute

  one kilogram or more of heroin, in violation of 21 U.S.C. § 846.

         The following motions are pending for decision: Estrada’s August 16, 2018 motion

  to compel disclosure of exculpatory evidence; Estrada’s August 16, 2018 discovery motions;

  Estrada’s August 16, 2018 motion to compel early disclosure of inculpatory evidence (Jencks

  Act motion); and Estrada’s August 16, 2018 motion for pretrial notice under Rule 404(b) of

  intention of government to introduce evidence of other crimes, wrongs, or acts. The trial is

  set for November 5, 2018.




         1
         Estrada has also filed a motion in limine, which the court will address at the pretrial
  conference.
Case 2:17-cr-00021-D-BR        Document 137         Filed 10/03/18   Page 2 of 11    PageID 398



                                                I

         The court turns first to Estrada’s discovery motions, in which he moves for 12

  categories of discovery.

                                               A

                             Rule 16(a)(1)-Based Discovery Requests

         In requests Nos. 1-3, 11, and 12, Estrada requests that the government be ordered to

  disclose information or evidence as required by Fed. R. Crim. P. 16(a)(1)(A)-(D).

         In request No. 1, Estrada requests that the government be ordered to disclose all oral,

  written, or recorded statements made by Estrada that are within the possession, custody, or

  control of the government, including any audio recordings and the substance of any oral

  statements made by Estrada, before or after his arrest, to government agents or law

  enforcement officers, including probation or parole officers.

         Estrada requests in request No. 2 that the government be ordered to disclose all books,

  papers, documents, photographs, tangible objects, or copies or portions thereof, that are

  within the possession, custody, or control of the government and that are material to the

  preparation of his defense, or are intended to be used by the government at trial, or were

  obtained from or belong to Estrada. This request includes any checks and other securities,

  computers, programs, software, diskettes, printers, check stock, counterfeit payroll,

  chemicals, fingerprints, handwriting exemplars, identification, bank statements, and other

  potential evidence.

         In request No. 3, Estrada requests that the government be ordered to disclose any

                                              -2-
Case 2:17-cr-00021-D-BR        Document 137       Filed 10/03/18      Page 3 of 11     PageID 399



  results or reports of all physical or mental examinations and of scientific tests or experiments

  conducted by the United States or state authorities in the course of the investigation of this

  case and any related state investigation of Estrada. This request includes any fingerprints or

  handwriting reports and results compiled by, and who examined, known fingerprints, palm

  prints, or handwriting exemplars of Estrada and compared them to questioned specimens, and

  any chemical analysis of narcotics and reports generated from the tests. Estrada also requests

  to review the reports of polygraph tests administered to participating government

  informants.2

         In request No. 11, Estrada requests that the government be ordered to disclose any

  information or evidence that was gained by any electronic surveillance, including, but not

  limited to, wiretaps, videotapes, tape-recorded conversations, or the like concerning Estrada,

  any of the alleged coconspirators or codefendants, and/or any witness. Estrada requests

  copies of any written transcripts or reports, or to have an opportunity to see or hear any

  information or evidence so gathered.

         In request No. 12, Estrada requests a copy of his prior criminal record, including the

  disposition of cases.

         To the extent that Estrada requests discovery that the government is required to

  disclose under Rules 16(a)(1), 12(b)(4), and 26.2, Brady v. Maryland, 373 U.S. 83 (1963),

  and its progeny, Giglio v. United States, 405 U.S. 150 (1972), and its progeny, and/or the



         2
          See infra § I(D) for a discussion of disclosure of any informant’s identity.

                                               -3-
Case 2:17-cr-00021-D-BR           Document 137    Filed 10/03/18    Page 4 of 11     PageID 400



  Jencks Act, 18 U.S.C. § 3500, the motion is granted. To the extent his requests exceed what

  is required by these authorities, the motion is denied. The government need not produce any

  discoverable statements covered by the Jencks Act or Rule 26.2 until the deadline specified

  infra at § V.

                                                 B

             Impeachment Evidence, Inconsistent Statements, Untruthful Witnesses,
                                 and Narcotic Information

         Estrada requests in request No. 4 that the government be ordered to disclose all

  information it has that will impeach any witness that the government may call at trial,

  including the prior criminal record or other prior material acts of misconduct of any

  government witness.

         In request No. 5, Estrada requests that, pursuant to Fed. R. Evid. 613, the government

  be ordered to disclose all information that it has regarding inconsistent statements of any

  witness it may call at trial.

         Estrada requests in request No. 6 that, pursuant to Fed. R. Evid. 607 and 608, the

  government be required to disclose any information it has regarding the untruthfulness of any

  witness it may call at trial.

         And in request No. 7, Estrada requests that the government be required to disclose any

  information regarding the use of narcotics by any witness it may call at trial, including any

  psychiatric examinations that may have been administered to any informant witnesses.3


         3
          See infra § I(D) for a discussion of disclosure of any informant’s identity.

                                                 -4-
Case 2:17-cr-00021-D-BR       Document 137       Filed 10/03/18     Page 5 of 11     PageID 401



         To the extent Estrada requests discovery that the government is required to disclose

  under Rules 12(b)(4), 16, and 26.2, Brady, Giglio, and/or the Jencks Act, the motion is

  granted. To the extent his requests exceed what is required by these authorities, the motion

  is denied.

                                               C

                               Government Investigation Notes

         In request No. 8, Estrada requests that the government be ordered to disclose any

  notes, tapes, and/or memoranda made by a government agent, including any person who may

  have been acting as an informer, or in an investigative or undercover capacity.4 Estrada also

  requests that, if such notes, tapes, or other memoranda were once in existence but have now

  been destroyed, the government be ordered to disclose in complete detail the purpose and

  exact information surrounding their destruction, and if such items have not been destroyed,

  the government be ordered to preserve such notes, tapes, and/or other memoranda.

         To the extent Estrada requests discovery that the government is required to disclose

  under Rules 12(b)(4), 16, and 26.2, Brady, Giglio, and/or the Jencks Act, the motion is

  granted. To the extent his requests exceed what is required by these authorities, the motion

  is denied.




         4
          See infra § I(D) for a discussion of disclosure of any informant’s identity.

                                              -5-
Case 2:17-cr-00021-D-BR        Document 137        Filed 10/03/18      Page 6 of 11     PageID 402



                                                 D

                             Government Comunications to Estrada

         In request No. 9, Estrada requests that the government be ordered to disclose whether

  any government agent, informer, or anyone else acting at the direction of the government has

  communicated with Estrada since the commencement of adversarial proceedings against him.

  Estrada further requests that the government be ordered to disclose the identity of any such

  individuals and the details surrounding the circumstances of such communications, as well

  as any statements made by him or any government agent.

         If the government has used an informant in investigating or prosecuting Estrada, it

  must notify the court in camera no later than October 9, 2018. With respect to other

  individuals, to the extent Estrada requests discovery that the government is required to

  disclose under Rules 12(b)(4), 16, and 26.2, Brady, Giglio, and/or the Jencks Act, the motion

  is granted. To the extent his requests exceed what is required by these authorities, the motion

  is denied. The government need not produce any discoverable statements covered by the

  Jencks Act or Rule 26.2 until the deadline specified infra at § V.

                                                 E

                                        Witness Statements

         In request No. 10, Estrada requests that the government be ordered to disclose any

  witness statements at least 48 hours before the witness testifies at trial or at any sentencing

  hearing. Estrada requests disclosure of any witness’ prior testimony (such as grand jury

  testimony), prior written statements, and reports or notes, any reports of prior oral statements,

                                                -6-
Case 2:17-cr-00021-D-BR       Document 137        Filed 10/03/18     Page 7 of 11     PageID 403



  and any prosecutor’s notes concerning witness statements, that have been or may be adopted,

  approved, or verified by the witness. Estrada also requests that the government be ordered

  to produce any exculpatory witness statements, negative exculpatory witness statements, and

  evidence concerning narcotic habits or psychiatric treatment of any government witness.

  Estrada also requests production of the personnel files of any government witness.

         Insofar as request No. 10 addresses the scope of discovery that Estrada seeks, the court

  grants the motion to the extent Estrada requests discovery that the government is required to

  disclose under Rules 12(b)(4), 16, and 26.2, Brady, Giglio, and/or the Jencks Act. To the

  extent his requests exceed what is required by these authorities, the motion is denied.

          Insofar as request No. 10 addresses the timing of discovery that Estrada seeks, the

  court denies Estrada’s request. “18 U.S.C. § 3500(b) (which pertains to the government) and

  Rule 26.2(a) (which pertains to the government and to a defendant) do not authorize the court

  to compel a party to produce a witness statement any earlier than after a witness has testified

  on direct examination.” United States v. Khoury, 2014 WL 6633065, at *5 (N.D. Tex. Nov.

  24, 2014) (Fitzwater, J.). “In this district, however, it is the custom for Jencks Act-type

  materials, including statements under Rule 26.2(a), to be disclosed at the end of the business

  day preceding the date on which the defendant will begin his cross-examination of a

  witness.” Id. Thus the government need not produce any discoverable statements covered

  by the Jencks Act or Rule 26.2 until the deadline specified infra at § V.




                                               -7-
Case 2:17-cr-00021-D-BR       Document 137       Filed 10/03/18     Page 8 of 11     PageID 404



                                               II

         The court now considers Estrada’s motion to compel disclosure of exculpatory

  evidence.

         Estrada requests 12 categories of evidence (including a catch-all category) that he

  maintains would be exculpatory. He requests that the government’s attorney be ordered to

  examine the government’s files and to question the government’s agents, informants, or other

  persons working with the government in this case as to their knowledge of any such evidence

  or materials; and that his counsel be allowed to question the government’s attorney and the

  government’s agents concerning their knowledge of exculpatory evidence and diligence in

  attempting to locate such evidence.

         Estrada also requests in the brief in support of this motion early disclosure of this

  material, and he requests the production of favorable evidence even if it is contained in

  statements or testimony of government-designated witnesses and is therefore within the

  ambit of the Jencks Act.

         To the extent Estrada requests discovery that the government is required to disclose

  under Brady, the motion is granted. To the extent his requests exceed what Brady requires,

  the motion is denied. The court denies Estrada’s request for disclosure of Brady material any

  earlier than the deadline specified infra at § V. The court also denies his request that his

  counsel be permitted to question the government’s attorney and the government’s agents

  concerning their knowledge of exculpatory evidence and diligence in attempting to locate

  such evidence.

                                              -8-
Case 2:17-cr-00021-D-BR        Document 137       Filed 10/03/18      Page 9 of 11     PageID 405



                                                III

         In Estrada’s motion to compel early disclosure of inculpatory evidence, he requests

  that the government be ordered to disclose any Jencks Act material and other evidence that

  is inculpatory as to him at least 48 hours prior to trial. He further requests, in the event his

  motion is denied, that the government be required to comply with the dictates of the Jencks

  Act by tendering all such materials to defense counsel outside the presence of the jury.

         As explained above, see supra § I(E), the Jencks Act does not authorize the court to

  compel a party to produce witness statements any earlier than after a witness has testified on

  direct examination. Khoury, 2014 WL 6633065, at *5. It is the custom in this district,

  however, for Jencks Act-type materials, including statements under Rule 26.2(a), to be

  disclosed at the end of the business day preceding the date on which the defendant will begin

  his cross-examination of a witness. Id. Accordingly, the government need not produce any

  discoverable statements covered by the Jencks Act or Rule 26.2 until the deadline specified

  infra at § V.

         The court denies Estrada’s request that the government be required to tender Jencks

  Act materials to defense counsel outside the presence of the jury. In the court’s experience,

  such tenders are typically made outside the jury’s presence anyway, before the opening of

  court or during a recess. When Jencks Act materials are tendered in court, the government

  usually does so without any indication to the jury of what the government is doing. Absent

  some basis to predict that the government intends to take a different approach in this case,

  the court is unwilling impose an unnecessary obligation on the government to tender Jencks

                                               -9-
Case 2:17-cr-00021-D-BR       Document 137        Filed 10/03/18     Page 10 of 11      PageID 406



  Act materials to defense counsel outside the presence of the jury.

                                                IV

         Finally, Estrada moves for pretrial notice under Rule 404(b) of the intention of the

  government to introduce evidence of other crimes, wrongs, or acts. Estrada moves to compel

  the government to provide pretrial notice of its intention to use at trial any evidence of other

  crimes, wrongs, or acts of Estrada and all other witnesses.

         The court grants the motion to the extent that the government must comply with Rule

  404(b). The government must make any disclosures required by Rule 404(b) no later than

  the deadline specified infra at § V.

                                                 V

         Except to the extent that the Jencks Act and Rule 26.2(a) permit later disclosure, the

  government must comply with its discovery obligations under case law, statute, rule, and this

  memorandum opinion and order no later than October 22, 2018.

         Concerning material covered by the Jencks Act or Rule 26.2, in accordance with the

  custom in this district, the government must disclose such statements regarding the particular

  witness in question no later than the end of the business day that precedes the date on which




                                               - 10 -
Case 2:17-cr-00021-D-BR      Document 137      Filed 10/03/18   Page 11 of 11   PageID 407



  Estrada will begin his cross-examination of that witness.

         SO ORDERED.

         October 3, 2018.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




                                            - 11 -
